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                                                    9
                                                                                             DISTRICT OF NEVADA
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                                                         DONALD WALDEN JR, NATHAN                            Case No.: 3:14-cv-00320-MMD-WGC
                                                         ECHEVERRIA, AARON DICUS, BRENT
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                                                   13                                                        NOTICE OF FILING OF CONSENTS TO
                                                         RIDENOUR, and DANIEL TRACY on behalf
                                                                                                             JOINDER
                                                         of themselves and all others similarly situated,
                                                   14
                                                   15            Plaintiffs,

                                                   16           v.
                                                   17
                                                         THE STATE OF NEVADA, EX REL. ITS
                                                   18    NEVADA DEPARTMENT OF
                                                         CORRECTIONS, and DOES 1-50,
                                                   19
                                                                Defendants.
                                                   20
                                                                PLEASE TAKE NOTICE that annexed hereto are Consents to Sue pursuant to 29 U.S.C.
                                                   21
                                                         § 216(b) which are to be filed with the Clerk of the Court as of this date on behalf of the following
                                                   22
                                                         individuals:
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                                                                               NOTICE OF FILING OF CONSENTS TO JOINDER
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                                                          No.    Last Name            First Name
                                                    1
                                                          1.     Roman                Matthew
                                                    2
                                                          Dated: March 24, 2020                    THIERMAN BUCK LLP
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                                                                                                   /s/ Leah L. Jones
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